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Exhibit G

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Read How cited

RODNEY T. JONES, Plaintiff,
V.
ABERDEEN PROVING GROUND FEDERAL CREDIT UNION, et al.,
Defendants.

Civil Action No, ELH-21-1915.

United States District Court, D. Maryland.

April 5, 2022.

MEMORANDUM OPINION

ELLEN L. HOLLANDER, District Judge.

In this debt dispute, plaintiff Rodney T. Jones filed suit against defendants Aberdeen
Proving Ground Federal Credit Union ("APG"); Equifax Information Services, LLC
("Equifax"); and Experian Information Solutions, Inc. ("Experian"). ECF 1 (the
"“Complaint"). Jones alleges that APG continues to demand payment on a loan that he
has paid in full, as reflected in a judgment. /d. And, he asserts that APG has falsely
reported this purported debt to Equifax and Experian, which have failed to follow
reasonable procedures to assure the maximum possible accuracy of their credit reports
regarding plaintiff. Id.

Specifically, the Complaint contains seven counts; six pertain only to APG.“ In Count l,
plaintiff alleges violations of the Maryland Consumer Debt Collection Act ("MCDCA"),
Md. Code (2013 Repl. Vol., 2021 Supp.), § 14-201 et seq. of the Commercial Law Article
("C.L."). In particular, in Count | plaintiff claims that APG violated C.L. § 14-202(e) by
knowingly disclosing or threatening to disclose information that affected plaintiff's
reputation for credit worthiness; violated C.L. § 14-202(8) by attempting to maintain a
lien on property when the lien did not exist; and violated C.L. § 14-202(11) by engaging
in prohibited debt collection conduct. In Count Il, plaintiff asserts violations of the
Maryland Consumer Protection Act ("MCPA"), C.L. § 13-101 ef seg. Count III alleges
violations of the Fair Credit Reporting Act ("FCFA"), 15 U.S.C. § 1681 et seq. Count IV
alleges defamation. In Count V, plaintiff asserts "Invasion of Privacy — Intrusion Upon
Seclusion". Count VI seeks specific performance as to property. And, Count VII asserts
violations of the FCRA by Equifax and Experian.

Equifax and Experian have answered the Complaint. ECF 17 (Experian); ECF 19
(Equifax); ECF 23 (Experian Amended Answer). But, APG has moved to dismiss
pursuant to Fed. R. Civ. P. 12(b)(6) or, in the alternative, for summary judgment under
Rule 56, prior to discovery. ECF 20. The motion is supported by a memorandum (ECF
20-1, collectively the "Motion") and several exhibits. ECF 20-2 to ECF 20-8.

Plaintiff opposes the Motion (ECF 22, the "Opposition"), supported by several exhibits.
ECF 22-2 to ECF 22-7. In the Opposition and an accompanying Affidavit of plaintiff's
counsel (ECF 22-7), plaintiff challenges conversion to summary judgment, pursuant to
Fed. R. Civ. P. 56(d). ECF 22 at 5-6. APG has replied. ECF 27 (the "Reply’).

No hearing is necessary to resolve the Motion. See Local Rule 105.6. For the reasons
that follow, | shall construe the Motion as a motion to dismiss and deny the Motion.

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Plaintiff is a resident of Harford County, Maryland. ECF 1 at 2, 7 8. In 2006, plaintiff took
out a home equity line of credit or "second mortgage" (the "Loan") with APG. See ECF

20-3 (the "Note" for the Loan).!3]

In particular, plaintiff borrowed $81,900, to be paid back in monthly installments with
interest at a yearly rate of 9.24%. ECF 20-3 at 1. The Note was secured by property
located on Orchid Court in Edgewood, Maryland (the "Property"). ECF 1, 7] 111-14.
Plaintiff is in actual, peaceable possession of the Property, and plaintiff and his wife are
title owners of the Property. /d. {| 109-110. APG claims a deed of trust on the Property,
but plaintiff disputes APG's continued entitlement to it. /o. J] 114-16.

On October 30, 2017, APG initiated a debt collection action against plaintiff in the Circuit
Court for Harford County, seeking to collect "what it alleged to be the whole amount
owed on the second mortgage." /d. at 3, {| 1; see also ECF 20-4 (Docket for Aberdeen
Proving Ground Federal Credit Union v. Rodney T Jones, Case No. 12-C-17-002882

(Harford Cty. Cir, Ct.)) at 2/4] In March 2018, APG and Jones reached a "Stipulation of
Settlement & Dismissal Under MD Rule 2-506(b)." ECF 20-5 (the "Stipulation"). The
Stipulation was signed by Jones on March 5, 2018, and by APG's counsel on March 23,
2018. See id. at 3.

The "Recitals" to the Stipulation state, in part: "Plaintiff [meaning APG] and Defendant
[meaning Jones] are presently parties to an action in this Honorable Court," and they
"desire to settle this matter under the terms set forth below." /d. at 1. It also states, id.:

WHEREAS, Defendant admits that [there is] an unpaid principal balance of
$35,557.67, plus accumulated interest through February 12, 2018 of
$477.35 plus pre-judgment interest from February 12, 2018 through the
date of judgment at the contractual rate of 9.2400, plus attorney's fees of
$5,336.00, and court costs. . . .

In addition, in the section titled "Terms," the Stipulation provides: "Upon the execution of
this Stipulation, Plaintiff agrees to dismiss without prejudice the above captioned case
pursuant to Maryland Rule 2-506(b)." /d. (underlining in original). For his part, Jones
agreed to pay the amount described above "in full satisfaction of the claim provided
Defendant [meaning Jones] complies with the provisions of this Stipulation." /d. This
amount was to be paid in monthly installments of $900, due on the last day of each
month, beginning January 30, 2018. /d. at 2. The Complaint implies, although it does not
make explicit, that APG had asserted that Jones owed more than the $35,557 amount to

which it agreed in the Stipulation. 2]

Moreover, the Stipulation provides: "In the event Defendant fails to make payment as
described above, Defendant will be in default." /d. And, "[i]n the event of default, [Jones]
consents to judgment in the full amount as indicated in the Recitals above, less credit for
payment made.” /d. In addition, the Stipulation indicated that it constituted the "entire
understanding between the parties respecting the subject matter hereof," with "no
representations, agreements or understandings, oral or written . . . relating to the subject
matter . . . which are not fully set forth herein." /d.

According to the docket, the Stipulation was filed with the circuit court on March 26,
2018. ECF 20-4 at 3. And, a "Stipulated/Dismissed” notation was entered on that court's
docket on March 29, 2018. /d. at 4.

However, in the State litigation on June 25, 2018, APG filed a "Motion to Reopen Case

and for Consent Judgment." ECF 22-2 (the "2018 Motion"); see ECF 20-4 at 4. In the

2018 Motion, APG asserted that it had "attempted to resolve the matter" with Jones "by

entering into" the Stipulation, and recited the amount described above that Jones had

admitted was due and owing in the Stipulation. ECF 22-2 at 1. According to APG, Jones 143
“failed to pay as agreed and is in breach and default thereof," and "never made a
payment following this agreement." /d. And, APG asserted: "Upon default, Defendant
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Recitals above, less payment for credits made." /d. Therefore, the 2018 Motion asked
the circuit court to enter a "judgment by Stipulated Agreement" in favor of APG and
against Jones for the principal sum of $34,367.99; accrued interest through June 18,
2018, of $147.90; pre-judgment interest from June 19, 2018, through judgment at a
contract rate of 9.24%; and post judgment interest at the statutory rate per annum. /d. at

1-2; see id. at 3 (proposed order).[&]

Jones did not respond to the 2018 Motion. See ECF 20-4 at 4. And, by Order dated July
23, 2018, the circuit court granted the 2018 Motion, and entered a consent judgment
against Jones for the amount requested by APG. ECF 20-6 at 2 (the "2018 Order"); see
also ECF 1 at 3, 2; ECF 20-4 at 4. The next day, July 24, 2018, the Clerk of the Circuit
Court docketed the Order, as well as a "Notice of Recorded Judgment," reflecting that
judgment had been entered against Jones and in favor of APG for a total of $34,515.89.
ECF 20-6; ECF 20-4 at 4. The docket provides the detail of an award in the principal
amount of $34,367.99, "Plus accrued interest through June 18, 2018 of $147.90; Plus
pre-judgment interest from June 19, 2018 through judgment at the contract rate of 9.24%
($8.7003 per day); Post Judgment interest at the statutory rate per annum." ECF 20-4 at

4.4 APG characterizes the 2018 Order as “an interlocutory order." ECF 20-1 at 3.

Plaintiff alleges that, as of July 24, 2018, "the total amount due" on his Loan was the
amount of the judgment, i.e., $34,515.89, plus additional interest, "and no more." ECF 1
at 4, 7 4. And, he claims that, “[o]ver the following three years," he "paid in excess of
$28,000.00 on the judgment." /d. at 4, 7 5.

In early 2021, plaintiff wanted to "pay off the judgment in its entirety. . . ." /d. at 4, ] 6. To
that end, he contacted APG's attorneys to inquire as to the amount "left to pay." /d.; see
ECF 22-5 (email chain between plaintiff and counsel for APG). Plaintiff first emailed
counsel for APG on January 12, 2021, asking for a "payoff quote." ECF 22-5 at 7. On
February 8, 2021, David Poch, an attorney representing APG, wrote to plaintiff: "We
have confirmed with APG FCU and the current payoff for the HELOC is $40,772.93."

ECF 22-5 at 3; see ECF 1 at 4, 7.2! But, according to plaintiff, he was also told that
only $12,563.25 remained on the judgment. ECF 1 at 4, J 7.

Plaintiff responded to the lawyer, asserting that the larger sum was "completely
inaccurate." ECF 22-5 at 2. He argued that he did not owe an amount that exceeded the
sum reflected in the 2018 Order, and that based on his payments of more than $28,000
between July 31, 2018, and January 31, 2021, there should be less than $40,772.93
remaining to pay off the Loan. /d. at 2-3. In response, counsel for APG stated: "The
settlement amount was for a judgment on the note. The amount did not reflect multiple
NSF checks that were issued to the client [APG] which is why the payoff on the HELOC

went up." /d. at 2,19]

Notwithstanding this dispute, plaintiff then paid over $12,000 to satisfy "the judgment in
full." ECF 1 at 4, 7 8. Thereafter, on March 2, 2021, APG filed a "Line of Satisfaction of
Judgment" in the circuit court case. ECF 22-3 (the "Line of Satisfaction"); see ECF 1 at
4,19; ECF 20-4 at 4. The Line of Satisfaction asked the Clerk of Court to "mark the
judgment entered on 7/23/2018 [i.e. the 2018 Order] in the above-captioned case as
paid in full and satisfied. Please release and dismiss any and all liens, levies, oral
exams, and garnishments currently pending before the court." ECF 22-3. Plaintiff asserts
in the suit that "by marking the judgment satisfied, APG acknowledged that Mr. Jones
had paid everything he was obligated [to pay] under the judgment and under the contract

which merged into the judgment." ECF 1 at 4-5, § 10 (emphasis in original).[19)

Nevertheless, according to the Complaint, "APG continued to false [sic] report that Mr.

Jones owed more money to the Credit Reporting Agencies ["CRAs"], and continued to

demand that Mr. Jones pay it even more money." ECF 1 at 5, J 11 [14] On March 16,

2021, APG called plaintiff, stating that he was late with his "March payment." /d. { 29. 144
APG called plaintiff "daily . . . to try to collect the debt" (id. J 30) and called him "several
times" in total after he "paid off the account." /d. 96. APG also sent emails seeking to

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On March 31, 2021, APG called plaintiff and "threatened" that if he did not pay, "APG
would further damage [plaintiff's] credit by falsely reporting that [plaintiff] had missed a
payment.” /d. J 31. At the time, plaintiff was in the process of obtaining a new mortgage
loan in order to buy a new house. /d. {| 32. Plaintiffs loan officer for the new loan "told
him that the APG account was affecting his rate on the new mortgage and that there
might be further questions about it." /d. Because plaintiff believed that APG would report
this "false information" and that this would increase the rate on his new mortgage,
plaintiff "felt compelled to make the payment of $737 that APG demanded." /d. ¥] 34. But,
he "paid under protest to protect his creditworthiness." /d. ] 35. The Complaint
elsewhere asserts plaintiff "made payments to APG," even though he disputed that they
were due, in order to "mitigate the damage APG's false reporting did to his
creditworthiness." /d. J] 42.

According to plaintiff, APG told him to make the payment online via its member services

system, and that they would not report him adversely if he paid in this way on March 31,

2021. ECF 1, J 35. But, even though plaintiff did so, APG called him on April 1, 2021, to

inform him that his March 31, 2021, payment did not clear and might take up to five days
to clear, and that "they were going to report that he had missed a payment." /d. 7 36.

As for false reporting, the Complaint alleges that even before the Line of Satisfaction,
APG "falsely reported" to the CRAs that plaintiff owed more money. /d. at 5, 12. For
example, APG reported to Equifax and TransUnion that plaintiff "owed $40,682 to APG,
with a scheduled payment of $736 and that the account was open and in collections." /d.
And, APG reported to Experian that plaintiff "owed $50,356 to APG, that the recent
payment amount was $2,200 and that the account was open." /d. Furthermore, after
plaintiff "satisfied the judgment, APG failed to report that the account had been paid in
full." fd. at 5, | 13. The Complaint asserts: "APG knew that the judgment was not for
$40,682 as of January, 2021, and knew that it was not for $50,356 as of January, 2021,
and knew that in fact it had been satisfied as of March, 2021... . APG also knew that the
judgment resolved all its claims against Mr. Jones in relation to the account. It therefore

knew that the information it furnished was false." /d. 7 14-15, [12]

Plaintiff disputed this "false information" with Experian, Equifax, and TransUnion. /d. J
16. Equifax received plaintiff's dispute on March 14, 2021; Experian received it on March
15, 2021; and TransUnion received it on March 18, 2021. /d. {J 17-19. "On information
and belief," Experian and Equifax passed plaintiff's disputes along to APG "in
accordance with their statutory duties." /d. {| 20. Experian responded to plaintiff's dispute
on March 26, 2021, advising that APG had certified to Experian that the information was
accurate. ECF 1, J 21. "However," the Complaint asserts, "APG failed to update the
account from its January 2019 status with Experian, despite many intervening payments,
and the satisfaction of the judgment on the account." /d. J 22.

Equifax responded the same day. /d. J 24. Equifax changed its information to show a
balance of $28,249, which plaintiff asserts "was still inaccurate." /d. Plaintiff alleges that,
"on information and belief," Experian and Equifax "chose to blindly parrot APG's
inaccurate response" rather than conduct their own reasonable investigations. fd. J] 23,
25.

Plaintiff's prospective mortgage lender for his new house, Lennar Mortgage, wanted to
speak to APG regarding the issue. /d. § 26. On April 16, 2021, plaintiff and his Lennar
loan officer spoke with APG by telephone. /d. 27. According to the Complaint, "APG
gave inconsistent explanations for the Experian reporting: that APG's attorneys had told
it what information to furnish to the CRAs; that APG was obligated to report that the
account was a collection account; then that the account was not a collection account and
would be updated immediately." /d. (emphasis in original).

Jones alleges damages as a result of defendants’ conduct. As noted, in order to protect 145
his creditworthiness, plaintiff made payments to APG that he did not believe were owed.
Id. J 42. And, since April 2019, plaintiff asserts that he "has been offered less favorable

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{ 38. In 2019, he sought to refinance his family's home, "in part to get rid of the APG
account," but APG "did not cooperate." /d. In "late 2020," when plaintiff and his family
wanted to move to a new house, as noted, he applied for preapproval for a mortgage
from two lenders, Lennar Mortgage and Homespire Mortgage. /d. {J 40, 43-44. Loan
officers from both companies told plaintiff that APG's reporting would, at the very least,
raise his interest rate, potentially costing plaintiff "thousands of dollars." ECF 1, 40.
Lennar Mortgage, plaintiffs preferred lender, ultimately denied plaintiff a mortgage
because of the APG reporting, rendering him ineligible for "$15,000.00 in incentives that
he would otherwise have received from the home builder." /d. 7 43. Homespire Mortgage
agreed to provide plaintiff with a mortgage, but plaintiff alleges that, until that loan
transaction closed in May 2021, he "worried constantly" about denial of the loan and
losing his deposit. Id. J] 44.

More broadly, plaintiff alleges "severe emotional distress" because of APG's "false credit
reporting and telephone harassment." /d. J 45. This distress has included various
physical manifestations, including sleeplessness, loss of weight and appetite, nausea,
irritability, and fainting. /d. {| 46.

The Complaint also asserts that "APG's conduct is part of a pattern and practice of
ignoring judicial decisions to which it has itself consented and then collecting and
attempting to collect money that is not owed." /d. {| 47 (emphasis in original). As an
example, the Complaint cites Manto v. Aberdeen Proving Ground Federal Credit Union,
Case No. C-13-CV-20-000649 (Harford Cty. Cir. Ct.). ECF 1, 7 48.

Additional facts are included in the Discussion, infra.

ll. Standards of Review

A. Summary Judgment

As noted, the Motion is styled as a "Motion to Dismiss Or, Alternatively, For Summary
Judgment." ECF 20. A motion styled in the alternative implicates the court's discretion
under Rule 12(d) of the Federal Rules of Civil Procedure. See Kensington Vol. Fire
Deptt, Inc. v. Montgomery Cty., 788 F. Supp. 2d 431, 436-37 (D. Md. 2011).

Ordinarily, a court "is not to consider matters outside the pleadings or resolve factual
disputes when ruling on a motion to dismiss." Bosiger v. U.S. Airways, 510 F.3d 442, 450
(4th Cir. 2007). However, under Rule 12(b)(6), a court, in its discretion, may consider
matters outside of the pleadings, pursuant to Rule 12(d). If the court does so, "the
motion must be treated as one for summary judgment under Rule 56," and "[alll parties
must be given a reasonable opportunity to present all the material that is pertinent to the
motion." Fed. R. Civ. P. 12(d). But, when the movant expressly captions its motion "in the
alternative" as one for summary judgment, and submits matters outside the pleadings for
the court's consideration, the parties are deemed to be on notice that conversion under
Rule 12(d) may occur; the court "does not have an obligation to notify parties of the

obvious." Laughlin v. Metro. Wash. Airports Auth., 149 F.3d 253, 261 (4th Cir. 1998). [13]

A district judge has "complete discretion to determine whether or not to accept the
submission of any material beyond the pleadings that is offered in conjunction with a
Rule 12(b)(6) motion and rely on it, thereby converting the motion, or to reject it or simply
not consider it." 5C Wright & Miller, Federal Practice & Procedure § 1366 (3d ed. 2018).
But, this discretion "should be exercised with great caution and attention to the parties'
procedural rights." /d. In general, courts are guided by whether consideration of
extraneous material "is likely to facilitate the disposition of the action,” and "whether
discovery prior to the utilization of the summary judgment procedure” is necessary. /d.

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However, summary judgment is usually inappropriate "where the parties have not had an
opportunity for reasonable discovery." E./. de Pont de Nemours and Co. v. Kolon Indus...
Inc., 637 F.3d 435, 448-49 (4th Cir. 2011). But, "the party opposing summary judgment

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party has made an attempt to oppose the motion on the grounds that more time was
needed for discovery." Harrods Ltd. v. Sixty Internet Domain Names, 302 F.3d 214, 244

Cir. 1996)). To raise adequately the issue that discovery is needed, the nonmovant
typically must file an affidavit or declaration pursuant to Rule 56(d) (formerly Rule 56(f)),
explaining why, "for specified reasons, it cannot present facts essential to justify its
opposition,” without needed discovery. Fed. R. Civ. P. 56(d); see Harrods, 302 F.3d at
244-45 (discussing affidavit requirement of former Rule 56(f)).

"[T]o justify a denial of summary judgment on the grounds that... discovery is
necessary, the facts identified in a Rule 56 affidavit must be “essential to [the]

Financial, 514 Fed. App'x 378 (4th Cir. 2013) (per curiam). Anonmoving party's Rule
56(d) request for additional discovery is properly denied “where the additional evidence
sought for discovery would not have by itself created a genuine issue of material fact

420 (D. Md. 2006), affd, 266 Fed. App'x 274 (4th Cir. 2008) (per curiam), cert. denied,
555 U.S. 885 (2008).

As discussed below, most of the documents attached to the Motion, as well as the
Opposition, may be considered at the Rule 12(b)(6) stage, without conversion to
summary judgment. But, conversion would be required to consider an Affidavit by an
APG employee making various assertions as to plaintiff's Loan, including APG's
“understanding” of its agreement with plaintiff and the meaning of the 2018 Order. ECF
20-2 (Affidavit of John Maschal, APG Vice President of Member Solutions), {| 13; see
generally id. And, conversion would likewise be required to consider an Affidavit of
plaintiff (ECF 22-6), setting forth his contrary understanding of his negotiations and
agreement with APG, as well as a related email chain. See ECF 22-4 (email chain).

In his Opposition and the accompanying Rule 56(d) Affidavit of plaintiffs counsel, plaintiff
argues that APG's assertions regarding its intentions and agreement with plaintiff are
contested factual questions, for which discovery is appropriate. ECF 22 at 5-6; ECF 22-
2. Among other things, plaintiff claims a need for discovery regarding the business
records of APG that allegedly support APG's assertions, and also seeks to conduct
depositions of Maschal and other APG employees. ECF 22-2, J 3-7.

Plaintiff and APG dispute factual questions relating to the meaning of their negotiations
and agreements, which are of relevance to the case. When a contract is ambiguous,
“the court must consider any extrinsic evidence which sheds light on the intentions of
the parties at the time of the execution of the contract." Cty. Commissioners of Charles
(citation omitted). Resolution of the disputes may require consideration of evidence
extrinsic to a contract. This factual dispute, for which extrinsic evidence is potentially
admissible, makes discovery appropriate.

Accordingly, | agree with plaintiff that conversion to summary judgment, without the
benefit of discovery, would be premature. As the Fourth Circuit has said, when a district
judge rules on a summary judgment motion prior to discovery, it is akin to "for[cing] the
non-moving party into a fencing match without a sword or mask.” McCray, 741 F.3d at
483; accord Putney, 656 Fed. App'x at 639. Therefore, | shall construe the Motion as a
motion to dismiss, pursuant to Fed. R. Civ. P. 12(b)(6).

B. Motion to Dismiss
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A defendant may test the legal sufficiency of a complaint by way of a motion to dismiss
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2022); ACA Fin. Guar. Corp. v. City of Buena Vista, 917 F.3d 206, 211 (4th Cir. 2019);
Paradise Wire & Cable Defined Benefit Pension Plan v. Weil, 918 F.3d 312, 317 (4th Cir.
2019); In re Birmingham, 846 F.3d 88, 92 (4th Cir. 2017); Goines v. Valley Cmty. Servs.

assertion by a defendant that, even if the facts alleged by a plaintiff are true, the
complaint fails as a matter of law "to state a claim upon which relief can be granted."
Fed. R. Civ. P. 12(b)(6).

Whether a complaint states a claim for relief is assessed by reference to the pleading
requirements of Fed. R. Civ. P. 8(a)(2). That rule provides that a complaint must contain
a "short and plain statement of the claim showing that the pleader is entitled to relief."
The purpose of the rule is to provide the defendants with "fair notice" of the claims and

(2007).

To survive a motion under Rule 12(b)(6), a complaint must contain facts sufficient to
"state a claim to relief that is plausible on its face." Twombly, 550 U.S. at 570; see
pleading standard for “all civil actions’. . . ." (citation omitted)); see also Nadendla, 24
E.4th at 304-05: Paradise Wire & Cable, 918 F.3d at 317: Willner v. Dimon, 849 F.3d 93,
112 (4th Cir. 2017). To be sure, a plaintiff need not include "detailed factual allegations"
in order to satisfy Rule 8(a)(2). Twombly, 550 U.S. at 555. Moreover, federal pleading
rules "do not countenance dismissal of a complaint for imperfect statement of the legal
theory supporting the claim asserted." Johnson v. City of Shelby, Miss., 574 U.S. 10, 10

insufficient to state a claim for relief. Francis v. Giacomelli, 588 F.3d 186, 193 (4th Cir.
2009) (citation omitted).

In other words, the rule demands more than bald accusations or mere speculation.
Twombly, 550 U.S. at 555; see Painter's Mill Grille, LLC v. Brown, 716 F.3d 342, 350 (4th
Cir. 2013). If a complaint provides no more than "labels and conclusions" or "a formulaic
recitation of the elements of a cause of action,” it is insufficient. Twombly, 550 U.S. at
555. "[A]n unadorned, the-defendant-unlawfully-harmed-me accusation" does not state a
plausible claim of relief. /gbal, 556 U.S. at 678. Rather, to satisfy the minimal
requirements of Rule 8(a)(2), the complaint must set forth "enough factual matter (taken
as true) to suggest" a cognizable cause of action, "even if. . . [the] actual proof of those
facts is improbable and . . . recovery is very remote and unlikely." Twombly, 550 U.S. at
556 (internal quotation marks omitted).

In reviewing a Rule 12(b)(6) motion, "a court “must accept as true all of the factual
allegations contained in the complaint,’ and must “draw all reasonable inferences [from
those facts] in favor of the plaintiff." Retfalvi v. United States, 930 F.3d 600, 605 (4th Cir.
2019) (alteration in Reffalvi) (quoting E.1. du Pont de Nemours & Co. v. Kolon Indus...
Inc., 637 F.3d 435, 440 (4th Cir. 2011)); see Semenova v. Md. Transit Admin., 845 F.3d
564, 567 (4th Cir. 2017); Houck v. Substitute Tr. Servs.,_Inc., 791 F.3d 473, 484 (4th Cir.
2015). However, "a court is not required to accept legal conclusions drawn from the

Glassman v. Arlington Cty., 628 F.3d 140, 146 (4th Cir. 2010). "A court decides whether
[the pleading] standard is met by separating the legal conclusions from the factual
allegations, assuming the truth of only the factual allegations, and then determining
whether those allegations allow the court to reasonably infer" that the plaintiff is entitled
to the legal remedy sought. A Society Without a Name v. Virginia, 655 F.3d 342, 346
(4th. Cir. 2011), cert. denied, 566 U.S. 937 (2012).

Courts ordinarily do not “resolve contests surrounding the facts, the merits of a claim, or 148

(quoting Edwards, 178 F.3d at 243). But, "in the relatively rare circumstances where

facts sufficient to rule on an affirmative defense are alleged in the complaint, the defense

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Inc., 494 F.3d 458, 464 (4th Cir. 2007) (en banc); accord Pressley v. Tupperware Long

. . if all facts necessary to the affirmative defense ‘clearly appear[ ] on the face of the
complaint." Goodman, 494 F.3d at 464 (emphasis in Goodman) (quoting Forst, 4 F.3d at
250).

“Generally, when a defendant moves to dismiss a complaint under Rule 12(b)(6), courts
are limited to considering the sufficiency of allegations set forth in the complaint and the
“documents attached or incorporated into the complaint." Zak v. Chelsea Therapeutics
F.3d at 448). See Goines, 822 F.3d at 166 (a court may properly consider documents
that are "explicitly incorporated into the complaint by reference and those attached to the
complaint as exhibits."); see also Six v. Generations Fed. Credit Union, 891 F.3d 508,
512 (4th Cir. 2018); Anand v. Ocwen Loan Servicing, LLC, 754 F.3d 195, 198 (4th Cir.
2014); U.S. ex rel. Oberg v. Pa. Higher Educ. Assistance Agency, 745 F.3d 131, 136 (4th
Cir. 2014); Am. Chiropractic Ass'n v. Trigon Healthcare, Inc., 367 F.3d 212, 234 (4th Cir.

Cir. 1999). In contrast, the court "may not consider any documents that are outside of the
complaint, or not expressly incorporated therein[.]" Clatferbuck v. City of Charlottesville,
708 F.3d 549, 557 (4th Cir. 2013), abrogated on other grounds by Reed. v. Town of

442, 450 (4th Cir. 2007).

And, "before treating the contents of an attached or incorporated document as true, the
district court should consider the nature of the document and why the plaintiff attached
it." Goines, 822 F.3d at 167. Of import here, "[w]hen the plaintiff attaches or incorporates
a document upon which his claim is based, or when the complaint otherwise shows that
the plaintiff has adopted the contents of the document, crediting the document over
conflicting allegations in the complaint is proper." /d. Conversely, "where the plaintiff
attaches or incorporates a document for purposes other than the truthfulness of the
document, it is inappropriate to treat the contents of that document as true.” /d.

Moreover, under limited circumstances, when resolving a Rule 12(b)(6) motion, a court
may consider documents beyond the complaint without converting the motion to dismiss
to one for summary judgment. Goldfarb v. Mayor & City Council of Balt., 791 F.3d 500,
508 (4th Cir. 2015). In particular, a court may "consider a document submitted by the
movant that [is] not attached to or expressly incorporated in a complaint, so long as the
document was integral to the complaint and there is no dispute about the document's
authenticity." Goines, 822 F.3d at 166 (citations omitted); see also Fusaro v. Cogan, 930

2017), cert. denied, U.S. , 138 S. Ct. 558 (2017); Kensington Volunteer Fire
Dep't v. Montgomery Cty., 684 F.3d 462, 467 (4th Cir. 2012). To be "integral," a
document must be one “that by its "very existence, and not the mere information it
contains, gives rise to the legal rights asserted." Chesapeake Bay Found., Inc. v.

original) (citation omitted); see also Fed. R. Civ. P. 10(c) ("A copy of a written instrument
that is an exhibit to a pleading is a part of the pleading for all purposes.").

In addition, "a court may properly take judicial notice of “matters of public record’ and
other information that, under Federal Rule of Evidence 201, constitute “adjudicative
facts." Goldfarb, 791 F.3d at 508; see also Tellabs, Inc. v. Makor Issues & Rights, Ltd.,

180 (4th Cir. 2009). However, under Fed. R. Evid. 201, a court may take judicial notice of
adjudicative facts only if they are "not subject to reasonable dispute," in that they are "(1) 149
generally known within the territorial jurisdiction of the trial court or (2) capable of
accurate and ready determination by resort to sources whose accuracy cannot

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Under these principles, | may consider most of the exhibits provided with the Motion and
the Opposition. Most of the documents are records concerning proceedings in Maryland
courts. See ECF 20-4 (Docket for Aberdeen Proving Ground Federal Credit Union v.
Rodney T Jones, Case No. 12-C-17-002882 (Harford Cty. Cir. Ct.)); ECF 20-5
(Stipulation); ECF 20-6 (2018 Order); ECF 20-7 (Docket for Monare Consir. Inc. v. Aris
Corp. et al, Case No. 267181V (Montgomery Cty. Cir. Ct.)); ECF 22-2 (2018 Motion);
ECF 22-3 (Line of Satisfaction). And, the Court may "take judicial notice of docket
entries, pleadings and papers in other cases without converting a motion to dismiss into
a motion for summary judgment." Brown v. Ocwen Loan Servicing, LLC, PJM-14-3454,
2015 WL 5008763, at *1 n.3 (D. Md. Aug. 20, 2015), affd, 639 Fed. App'x. 200 (4th Cir.

(BD. Md. 2003) (taking judicial notice of dockets in state proceedings).

ECF 20-8 is a decision issued by another judge of this Court. See Payne v. Ford Motor
Credit Co., SAG-20-00034, 2020 WL 5250287 (D. Md. Sept. 3, 2020). Of course, judicial
decisions may be considered for guidance. And, ECF 20-3 is plaintiff's Note, which is
integral to his Complaint. Finally, ECF 20-5 is an email conversation between plaintiff
and APG's counsel, relating to plaintiff attempting to pay his debt, as referenced in the
Complaint. See ECF 1, ff] 6-7. Neither plaintiff nor APG object to the consideration of, or
dispute the authenticity, of any of these documents. However, as noted, the Maschal
Affidavit (ECF 20-2); plaintiff's Affidavit (ECF 22-6); and an additional email chain offered
by plaintiff (ECF 22-4) cannot be considered at the Rule 12(b)(6) stage, because they
are not referenced in the Complaint, are not integral to it, nor do they fall within any other
exception.

C. Choice of Law

This case involves questions of both Maryland and federal law. But, neither plaintiff nor
APG has addressed the matter of choice of law. Instead, both assume that Maryland law
applies, without further discussion.

Count III and Count VII of the Complaint, both of which assert claims under the FCRA,
invoke the Court's federal question jurisdiction under 28 U.S.C. § 1331. See ECF 1 at 3,
M1 12; 77-88, 117-36. The remaining counts are lodged under Maryland law, pursuant to
the Court's supplemental jurisdiction. See ECF 1 at 3, ] 13; see also 28 U.S.C. § 1367.

For a state law claim considered under supplemental jurisdiction, the Court must apply
the law of the forum state, namely Maryland, including as to choice of law. See, e.g.,
Nash v. Montgomery Cty., GJH-20-1138, 2021 WL 1222874, at *7 n.7 (D. Md. Mar. 31,

For a contract claim, Maryland applies the law of the state in which the contract was
formed ("/ex loci contractus"), unless the parties to the contract agreed to be bound by
the law of another state. See, e.g. Cunningham v. Feinberg, 441 Md. 310, 326, 107 A.3d

497, 507 (2012), affd, 437 Md. 372, 86 A.3d 1245 (2014). "In Maryland, choice of law
provisions in contracts are enforceable unless the choice of law jurisdiction has no
substantial relationship to the transaction, or there is a fundamental policy difference in
the laws of another jurisdiction with a more substantial interest in the parties or the
transaction." United States for use & benefit of Tusco, Inc. v. Clark Constr. Grp., 235 F.

OF LAWS § 187. 150
Plaintiff is a resident of Maryland, and APG's principal office is in Maryland. ECF 1 at 3,
Case 2:23-Cv-G@28S6nS bpeats Ant releGaht bofdudt/belWwedn@grl? ahG APG dcitarted (A/Mdntaha. Page 11 of 22
The Note lacks a choice of law clause, but appears to have been formed in Aberdeen,
Maryland. See ECF 20-3 at 1. And, the Stipulation contains a clause providing that it
“shall be construed and governed in accordance with the laws of the State of Maryland."
ECF 20-5 at 3. Therefore, to the extent that any of plaintiffs claims sound in contract, |
will apply Maryland law.

In tort actions, Maryland adheres to the rule of /ex loci delicti, meaning it applies the

(other citations omitted); see also DiFederico v. Marriott Int'l, Inc., 677 Fed. App'x 830,
833 (4th Cir. 2017). As plaintiff is a resident of Maryland, it appears that any alleged
harms would have occurred in Maryland. Accordingly, | will look to Maryland law with
respect to the analysis of plaintiff's claims sounding in tort.

Finally, as to issues such as merger and the effect of the 2018 Order, "[f]jederal courts
must give the same preclusive effect to a state court judgment as the forum that
rendered the judgment would have given it." Sartin v. Macik, 535 F.3d 284, 287 (4th Cir.
2008); see also 28 U.S.C. § 1738; Jaffe v. Accredited Surety and Casualty Co, Inc., 294
F.3d 584, 590-93 (4th Cir. 2002); RESTATEMENT (SECOND) OF JUDGMENTS (the
"Restatement of Judgments"), § 18 (applying this principle to merger). Here, the 2018
Order was issued by a Maryland court. So, | will look to the preclusive effect it would be
given in a Maryland court under Maryland law.

ill. Discussion

A.

The dispute between plaintiff and APG boils down to contrary views concerning the
effect of the Stipulation and the 2018 Order.

As noted, APG asserted that plaintiff owed an additional debt on the Loan, beyond the
amount reflected in the Stipulation. According to APG, subject to regular payments by
Jones, as specified ih the Stipulation, APG suspended its right to reopen the State
litigation "and adjudicate the remaining disputed unpaid Loan debt. . . ." ECF 20-1 at 3.
But, it contends that it never waived or settled the right to do so. /d. To the contrary, APG
contends that, because plaintiff defaulted on the Stipulation, APG had the right to pursue
the additional, disputed debt, notwithstanding the 2018 Order or plaintiffs satisfaction of
the judgment. /d. at 1-3, 5-9; ECF 27 at 1-2, 4-6. Indeed, APG asserts that Jones
satisfied the 2018 Order on February 12, 2021, but "has continued to make payments on
the disputed unpaid Loan balance." ECF 20-1 at 3.

In the Motion, APG maintains that the 2018 Order is not a final judgment; did not modify
the Loan balance; and did not merge with the Loan or preclude APG's Loan claim. ECF
20-1 at 3, 5-9. Therefore, it asks the Court to find "as the law of the case” that the 2018
Order is interlocutory, "and not the final disposition of the claims" in the State litigation.
ECF 20 at 1-2.

In plaintiff's view, when APG agreed to the Stipulation and then obtained the 2018 Order
after plaintiff defaulted, APG relinquished the right to pursue the recovery of any
additional amount, beyond what was specified in the 2018 Order. ECF 1 at 4-5, J 3, 10;
ECF 22 at 1-4, 6-10. In the Opposition, plaintiff does not contest APG's premise that, if
the 2018 Order is as described by APG, then his claims must be dismissed. But, plaintiff
argues that the Stipulation provided for APG's total claim; that the 2018 Order was a final
judgment; and that APG's contractual rights under the Loan merged into the 2018 Order.
ECF 22 at 6-10.

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1.
The dispute between plaintiff and APG as to whether the 2018 Order is a "final

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as to the Loan merged into the 2018 Order. "[I]n Maryland, . . . under the rule of merger,
“a simple contract is merged in a judgment or decree rendered upon it, and . . . all its
powers to sustain rights and enforce liabilities terminated in the judgment or decree. .. ."
(“Monarc") (quoting Jackson v. Wilson, 76 Md. 567, 571, 25 A. 980, 981 (1893))
(alterations mine); see also Cain v. Midland Funding, LLC, No. 0530, 2016 WL 1597179,
at *9 (Md. Ct. Spec. App. Apr. 21, 2016) ("Maryland appellate courts recognize that,
under the rule of merger, ‘a simple contract is merged in a judgment or decree rendered
upon it, and that all its powers to sustain rights and enforce liabilities terminate[ ] in the
judgment or decree. . . .") (internal citations omitted), rev'd on other grounds, 452 Md.
141, 156 A.3d 807 (2017); United Book Press. Inc. v. Maryland Composition Co, Inc.,

obtained with respect to that claim.").

Maryland courts look to the Restatement of Judgments when discussing the concept of

merger as follows (emphasis added):
When a valid and final personal judgment is rendered in favor of the plaintiff:

(1) The plaintiff cannot thereafter maintain an action on the original claim or
any part thereof, although he may be able to maintain an action upon the
judgment; and

(2) In an action upon the judgment, the defendant cannot avail himself of
defenses he might have interposed, or did interpose, in the first action.

"When the plaintiff recovers a valid and final personal judgment, his original claim is
extinguished and rights upon the judgment are substituted for it. The plaintiff's original
claim is said to be ‘merged’ in the judgment." /d. cmt. a. Moreover, "[iJt is immaterial
whether the judgment was rendered upon a verdict or upon a motion to dismiss or other
objection to the pleadings or upon consent, confession, or default." /d.

As articulated by the Restatement of Judgments, merger is only implicated by a "final
personal judgment." Restatement of Judgments § 18. Under Maryland law, “[t]o
constitute a final judgment, a trial court's ruling “must either decide and conclude the
rights of the parties involved or deny a party the means to prosecute or defend rights
and interests in the subject matter of the proceeding.” Md. Bd. of Physicians v. Geier,

"Additionally, for a judgment to be final, the ruling must also contain the following three
attributes: *(1) it must be intended by the court as an unqualified, final disposition of the
matter in controversy[;] (2) unless the court acts pursuant to Maryland Rule 2-602(b) to
direct the entry of a final judgment as to less than all the claims or all the parties, it must
adjudicate or complete the adjudication of all claims against all parties; [and] (3) it must
be set forth and recorded in accordance with [Maryland] Rule 2-601." Md. Bd. of
Physicians, 451 Md. at 545, 154 A.3d at 1222 (quoting Metro Maintenance Systems

Bd. of Physicians). Maryland Rule 2-601 contains requirements for the preparation and
entry of judgment by the clerk of court upon the issuance of a jury verdict or decision by
a court.

APG mounts a cursory argument that the 2018 Order did not comply with the third

requirement for a final judgment, namely that the court set forth and record the judgment

under Maryland Rule 2-601. See ECF 20-1 at 6-7. This is not persuasive: the Notice of 152
Recorded Judgment docketed by the Clerk of the Circuit Court, along with the 2018

Order, appear to be precisely the documents contemplated by Rule 2-601.
The question of whether the underlying Loan contract merged into the 2018 Order, and
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degree on how the Court interprets the Stipulation, which led to the 2018 Order. As
noted, plaintiff takes the position that the Stipulation established the total amount owed
by plaintiff to APG, and the sole remedy if plaintiff defaulted on the Stipulation, namely
the consent judgment. Thus, even if plaintiff defaulted on the Stipulation, by seeking the
consent judgment contemplated by the Stipulation, APG could not then seek any
additional Loan amount beyond the 2018 Order.

If this is so, it is difficult to see how the 2018 Order could be anything other than a final
judgment, into which the underlying contract merged. In this case, the 2018 Order would
have conclusively determined the amount owed by plaintiff to APG. In other words, the
2018 Order would have "‘decide[d] and concluded] the rights of the parties involved,"
and "’complete[d] the adjudication of all claims against all parties." Md. Bd. of
Physicians, 451 Md. at 545, 154 A.3d at 1222 (internal quotations omitted). Similarly, by
reopening the case to grant the consent judgment contemplated by the Stipulation, and
not providing for any further action in the case, the 2018 Order could be seen as
“intended by the court as an unqualified, final disposition of the matter in controversy.”
Md. Bd. of Physicians, 451 Md. at 545, 154 A.3d at 1222. And, this final judgment would
extinguish the original contractual claim for the Loan, substituting the 2018 Order.

Restatement of Judgements, § 18.[141

On the other hand, APG argues that plaintiff materially breached the Stipulation by
defaulting. Therefore, APG maintains that it was entitled to pursue the entire amount
owed on the Loan, notwithstanding the consent judgment obtained pursuant to the
Stipulation.

If the Stipulation permits such a course, then the argument that the 2018 Order
constitutes a final judgment is tenuous. If APG could continue to pursue the overall Loan
amount in the action, then the 2018 Order would not have ""decide[d] and conclude[d]
the rights of the parties involved," or "complete[d] the adjudication of all claims against
all parties." Md. Bd. of Physicians, 451 Md. at 545, 154 A.3d at 1222 (internal quotations
omitted). Likewise, the 2018 Order, granting a motion to "Reopen Case" (ECF 22-2 at 1),
could be interpreted to have reopened the case for more than simply granting the
consent judgment, even if that was the focus of the Order. And, without a final judgment,
no merger would occur. Restatement of Judgments, § 18.

judgment. But, in my view, it is not dispositive. There, the parties, a contractor anda
subcontractor, entered into a settlement agreement to resolve litigation between them.
Id. at 381, 981 A.2d at 824. After defendants allegedly defaulted, Monarc sued on the
settlement agreement and obtained a default judgment. /d. at 381-82, 981 A.2d at 824.
Monarc then filed suit again, seeking contractual attorney's fees. /d. at 383-84, 981 A.2d
at 825-26. The trial court dismissed the suit, on the basis of merger, and the Maryland
Court of Special Appeals affirmed. /d. The court concluded that the "sole basis" for
Monarc's claim to attorney's fees was the settlement agreement, which had merged into
the default judgment. /d. at 399, 981 A.2d at 834-35.

In contrast to the case sub judice, in Monarc there was no dispute that Monarc's claim
for attorney's fees derived solely from the settlement agreement, which was the basis for
the suit in which it obtained default judgment. /d. at 382, 393, 399, 981 A.2d at 824, 831,
834-35. Here, APG asserts that its claim for the additional Loan amounts derives from
the underlying Loan, not the Stipulation, and that the 2018 Order did not resolve the
original suit to collect on the Loan. See, e.g., ECF 20-1 at 3, 8; ECF 27 at 4, 5.

On the other hand, differences between Monarc and this case, identified by APG, are not
persuasive. APG notes that Monarc involved a default judgment, following testimony and
proof of damages in open court. ECF 20-1 at 8. But, for purposes of the merger doctrine,
“[i]t is immaterial whether the judgment was rendered upon a verdict or upon a motion to
dismiss or other objection to the pleadings or upon consent, confession, or default."
Restatement of Judgments, § 18 cmt. a. In addition, APG highlights minor differences in

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the phrasing of the docket entries for judgment in Monarc and this case, as well as the

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“closed/inactive." ECF 20-1 at 8-9. These distinctions do not provide a meaningful basis
to distinguish the cases.

2.

Thus, the Court proceeds to examine the terms of the Stipulation. "Maryland law
provides that “[s]ettlement agreements are enforceable as independent contracts,
subject to the same general rules of construction that apply to other contracts." Medicine
Shoppe Int'l, Inc. v. Siddiqui, 549 Fed. App'x 131, 134 (4th Cir. 2013) (internal citation
omitted). Indeed, "[t]he policy of encouraging settlement is so important that, even when
the parties later discover that the settlement may have been based on a mistake,
settlement agreements will not be disturbed." Nationwide Mut. Ins. Co. v. Voland, 103

Md. App. 225, 237, 653 A.2d 484, 491 (1995).

Under Maryland law, the interpretation of a contract is "ordinarily a question of law for the

158 A.3d 1134, 1136 (2017).

Maryland adheres to the law of objective interpretation of contracts, so that "the written
language embodying the terms of an agreement will govern the rights and liabilities of
the parties, irrespective of the intent of the parties at the time they entered into the
contract." Sy-Lene of Wash.,_Inc. v. Starwood Urban Retail I, LLC, 376 Md. 157, 166,
829 A.2d 540, 545 (2003) (citation omitted); see Cochran v. Norkunas, 398 Md. 1, 16,

103 A.3d_ 1133, 1139 (2014); accord Parkway 1046, LLC v. U.S. Home Corp., 961 F.3d
301, 306 (4th Cir. 2020). Thus, the court's task is not to imagine what the parties
intended at the time of the agreement but to "determine from the language of the
agreement itself what a reasonable person in the position of the parties would have
meant at the time it was effectuated." Dumbarton Imp. Ass'n. Inc. v. Druid Ridge

1046, LLC, 961 F.3d at 307.

To determine the parties’ intention, courts first look to the written language of the
contract. See Walton, 391 Md. at 660, 894 A.2d at 594. ""The words employed in the
contract are to be given their ordinary and usual meaning, in light of the context within
which they are employed." DIRECTV, Inc. v. Mattingly, 376 Md. 302, 313, 829 A.2d 626,
632-33 (2003) (citations omitted). A court will presume that the parties meant what they
stated in an unambiguous contract, without regard to what the parties to the contract
personally thought it meant or intended it to mean. See Dumbarton, 434 Md. at 51, 73
A.3d at 232; Dennis v. Fire & Police Employees' Ret. Sys., 390 Md. 639, 656, 890 A.2d
737, 747 (2006); PaineWebber Inc. v. East, 363 Md. 408, 414, 768 A.2d 1029, 1032
(2001); see also, e.g., Hartford Acc. & Indem. Co. v. Scarlett Harbor Assoc. Lid. P'ship,
109 Md. App. 217,291, 674 A.2d 106, 142 (1996) ("Where the language of a contract is
clear, there is no room for construction; it must be presumed that the parties meant what
they expressed."), affd, 346 Md. 122, 695 A.2d 153 (1997).

The determination of whether a contract is ambiguous is a question of law. Towson
Univ., 384 Md. at 78, 862 A.2d at 946; Sy-Lene of Washington, 376 Md. at 163, 829 A.2d
at 544. Notably, a contract is not ambiguous merely because the parties do not agree on

contract is ambiguous "when the language of the contract is susceptible of more than
one meaning to a reasonably prudent person." Auction & Estate Representatives, Inc. v.
Ashton, 354 Md. 333, 340, 731 A.2d 441, 444-45 (1999): see also Cochran, 398 Md. at

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17,919 A.2d at 710; Sy-Lene of Washington, 376 Md. at 167, 829 A.2d at 547; Calomiris
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To determine whether a contract is ambiguous, a court considers "the character of the
contract, its purpose, and the facts and circumstances of the parties at the time" that
they enter into the contract. Pacific Indem. Co. v. Interstate Fire & Cas. Co., 302 Md.

ascribed to the [contract] when viewed in context, that meaning necessarily reflects the
parties’ intent." Cty. Comm'rs for Carroll Cty. v. Forty W. Builders, Inc., 178 Md. App.

Nevertheless, the Court cannot resolve any factual disputes or ambiguity at the motion
to dismiss stage. See 1899 Holdings, LLC v. 1899 Liab. Co., 568 Fed. App'x. 219, 224
(4th Cir. 2014) ("In a contract dispute, the construction of ambiguous contract provisions
is a factual determination that precludes dismissal on a motion for failure to state a
claim.") (internal quotation omitted); Martin Marietta Corp. v. Int'l Telecomm. Satellite
Org., 978 F.2d 140, 143 (4th Cir. 1992) (reversing trial court's grant of a motion to
dismiss because the contract in issue was "not free of ambiguity"); Hardwire LLC v.

ambiguous contract provision is a factual determination that precludes dismissal on a
motion for failure to state a claim").

The Stipulation (ECF 20-5) contains provisions that can be construed to support either
interpretation. Indeed, plaintiff and APG each emphasize particular provisions that
support their positions. See ECF 22 at 6-8; ECF 27 at 1-2, 5. Therefore, | conclude that
the Stipulation is ambiguous, and a determination as to its interpretation is not proper at
this juncture.

Certain provisions of the Stipulation support the argument that, in the event of default by
plaintiff, APG's recourse under the Stipulation was to seek a consent judgment for the
amounts recited in the Stipulation, and not for any additional claim. In particular, the
Stipulation provides that, "[iJn the event of default," which is defined as the failure by
Jones to make the payments described in the Stipulation, Jones "consents to judgment
in the full amount as indicated in the Recitals above, less credit for payments made.”
ECF 20-5 at 2. And, the recitals reflect that Jones has admitted to an unpaid principal
balance of $35,557.67, plus interest and attorney's fees. /d. at 1. Furthermore, the
Stipulation is a “Stipulation of Settlement & Dismissal Under MD Rule 2-506(b)." /d.
Maryland Rule 2-506(b) provides: "If an action is settled upon written stipulated terms
and dismissed, the action may be reopened at any time upon request of any party to the
settlement fo enforce the stipulated terms through the entry of judgment or other
appropriate relief." (Emphasis added.)

Conversely, other provisions of the Stipulation could be read to buttress APG's position
that, in the event of default by plaintiff, APG could move to collect the entire Loan
amount that was allegedly unpaid, not simply the amount recited in the Stipulation. Most
notably, the Stipulation provides: "[Jones] agrees to pay and [APG] agrees to accept [the
amounts stated in the Recitals] in full satisfaction of the claim provided [Jones] complies
with the provisions of this Stipulation." ECF 20-5 at 1 (emphasis added). Of course, if
Jones did not make the payments required by the Stipulation, then he would not be in
compliance with its provisions. In addition, the portion of the Stipulation relating to the
consent judgment in the event of default does not explicitly state that such a consent
judgment would be the sole remedy for default. See id. at 2.

The purpose of the Stipulation was to resolve the dispute between Jones and APG

regarding the unpaid Loan balance, without the expense of litigation. See ECF 20-5 at 1.

Under the circumstances, it is reasonable that APG might compromise on the overall

amount owed, even in the event of default, in order to avoid litigation, increase the

chances of recovery, and provide for an expedited consent judgment process should

default occur. But, likewise, it is reasonable that APG might insist that it be able to 155
recover the full amount in the event of default, as an inducement for Jones to perform.
Considering the written language of the Stipulation as well as its character, purpose, and
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language in the Stipulation is susceptible to only one meaning to a reasonably prudent
person. See Auction & Estate Representatives, Inc., 354 Md. at 340, 731 A.2d at 444-45;
Pacific Indem. Co., 302 Md. at 388, 488 A.2d at 488; Forty W. Builders, Inc., 178 Md.
App. at 377, 941 A.2d at 1209.

In a related argument, APG contends that plaintiff materially breached the Stipulation by
defaulting. As a result, APG asserts that it was relieved of any obligation under the
Stipulation to accept the compromised amount. See ECF 20-1 at 7-8; ECF 27 at 4-5.
But, this argument is not sufficient to grant the Motion.

“Under Maryland law, “[a] breach is material if it affects the purpose of the contract in an
important or vital way." Jay Dee/Mole Joint Venture v. Mayor and City Council of

Mut. Cas. Co., 404 F.3d 253, 260 (4th Cir. 2005)) (alteration in Jay Dee). "Whether a
given breach is material or essential, or not, is a question of fact.’ There are instances,

however, when the issue is so clear that it may be decided as a matter of law." Barufaldi
v. Ocean City, Chamber of Commerce, Inc., 196 Md. App. 1,23, 7 A.3d 643, 657 (2010)

(internal citation omitted).

Even assuming that plaintiffs asserted default under the Stipulation is so clear that it
may be considered a material breach as a matter of law, the effect is not so simple. It is
true that, as a general matter under Maryland law, "a material breach discharges the
non-breaching party of its duty to perform" under a contract. Jay Dee/Mole Joint Venture,
725 F. Supp. 2d at 526 (citing 23 WILLISTON ON CONTRACTS § 63:3 (4th ed.)
("Williston")). But, at the same time:

When there has been a material failure of performance by one party to a
contract, so that a condition precedent to the duty of the other party's
performance has not occurred, the latter party has the choice to continue to
perform under the contract or to cease to perform and conduct indicating an
intention to continue the contract in effect will constitute a conclusive
election, in effect waiving the right to assert that the breach discharged any
obligation to perform. In other words, the general rule that one party's
uncured, material failure of performance will suspend or discharge the other
party's duty to perform does not apply when the latter party, with knowledge
of the facts, either performs or indicates a willingness to do so, despite the
breach, or insists that the defaulting party continue to render future
performance.

14 Williston § 43:15 (footnotes omitted).

“[T]he nonbreaching party, by electing to continue receiving benefits under the
agreement, cannot then refuse to perform its part of the bargain." 13 Williston § 39:32.
See also, e.g., Lazorcak v. Feuerstein, 273 Md. 69, 74-75, 327 A.2d 477, 480-81 (1974);
Pumphrey v. Pelton, 250 Md. 662, 671, 245 A.2d 301, 306 (1968); Monument Bank v.
American Bank, FSB, No. 2242, 2017 WL 2666162, at *5 (Md. Ct. Spec. App. June 21,
2017); Brown v. Brown, No. 0947, 2016 WL 3460305, at *4-5 (Md. Ct. Spec. App. June
23, 2016). Here, after plaintiff allegedly defaulted, APG did not attempt to rescind the
Stipulation. To the contrary, it promptly sought the consent judgment contemplated in the
Stipulation in the event of default. See ECF 20-5 at 2; ECF 22-2. And, its 2018 Motion
explicitly referenced that, under the Stipulation, plaintiff agreed to a consent judgment if
he defaulted. See ECF 22-2 at 1. In other words, after plaintiffs asserted material
breach, APG sought to hold plaintiff to performance under the Stipulation, and to receive
the benefit of the Stipulation in the form of the consent judgment.

Furthermore, even in the case of a material breach, "the rights and liabilities of the

parties may be governed by an express stipulation in the contract indicating what the

effect of a breach will be." Merriweather Post Business Trust v. It's Not My Amphitheater, 156
Inc., No. 2594, 2020 WL 4530659, at *18 (Md. Ct. Spec. App. Aug. 6, 2020) (internal
citation omitted). Depending on the construction given to the Stipulation, as discussed

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would be in the event of a material breach by plaintifi—namely, it could seek the consent
judgment.

In sum, | conclude that the disagreement between plaintiff and APG as to the
construction of the Stipulation is not suitable for resolution at the motion to dismiss
stage. And, as discussed, their disputes as to whether the 2018 Order constituted a final
judgment, and the effect of the 2018 Order on the amount owed by plaintiff under the
Loan, turn in large part on the interpretation given to the Stipulation. Therefore, | decline
to grant the Motion on this basis.

APG does not make any further argument as to Count | (the MCDCA), Count II (the
MCPA), or Count VII (specific performance), beyond its overall argument above.
Because | have rejected that argument at this juncture, those counts may proceed. But,
APG makes additional arguments concerning Count III (the FCRA), Count IV
(defamation), and Count V (intrusion upon seclusion). | turn to those contentions.

1.

Count III alleges that APG violated the FCRA, specifically 15 U.S.C. § 1681s-2(b), by
failing to conduct a reasonable investigation of plaintiff's disputes with Experian and
Equifax. ECF 1, J] 77-88. As to Count Ill, the Motion focuses on APG's overall
argument, discussed above. But, APG also contends that plaintiff has inadequately
alleged that Experian and Equifax notified APG of his dispute, and that APG breached its
duty to investigate. ECF 20-1 at 10.

The FCRA is "a comprehensive statutory scheme designed to regulate the consumer
reporting industry." Ross v. FD.1.C., 625 F.3d 808, 812 (4th Cir. 2010). Among other
things, it creates a duty for furnishers of credit information to provide accurate
information to credit reporting agencies ("agencies"), as well as a duty to correct
inaccuracies and to investigate disputed information upon notice. 15 U.S.C. § 1681s-2.
In particular, § 1681s-2(b) imposes requirements upon persons who provide information
to agencies, upon receiving notice by an agency of a dispute by a consumer or reseller
involving that information. See 15 U.S.C. § 1681s-2(b); id. § 1681i(a)(2). After receiving
notice, such a furnisher must investigate the disputed information; review all relevant
information provided by the agency; report the results of the investigation to the agency;
report any inaccurate or incomplete information to all other agencies; and modify, delete,
or block an inaccurate or incomplete item of information for the purposes of reporting to
agencies. /d. § 1681s-2(b)(1). In short, this provision "requires creditors, after receiving
notice of a consumer dispute from a credit reporting agency, to conduct a reasonable
investigation of their records to determine whether the disputed information can be

"[T]o bring a claim under § 1681s-2(b), a plaintiff must establish three elements: (1) that
he or she notified the consumer reporting agency of the disputed information, (2) that the
consumer reporting agency notified the defendant furnisher of the dispute, and (3) that
Barclay Bank Del., PIM-12-082, 2012 WL 3137151, at *3 (D. Md. July 31, 2012). APG
contests whether plaintiff has adequately alleged the final two prongs.

As to the second prong, the Complaint alleges that both Equifax and Experian

responded to plaintiff's dispute as to his credit information, as part of which they reported

the response they received from APG when they passed along the dispute. ECF 1, Jf]

21, 24. These details sufficiently allege that Experian and Equifax notified APG regarding

the dispute. 157
And, as for the third prong, some of plaintiff's allegations are premised on the argument
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argument is not ripe for resolution. In addition, plaintiff alleges that APG reported
inconsistent information to Equifax and Experian, which then reported inconsistent
information to plaintiff. fo. at 5-6, J] 12, 14, 22, 24. For example, on March 26, 2021,
Experian reported to plaintiff that APG had certified that its information—that plaintiff
owed $50,356—was accurate. /d. J] 12, 21. But, the same day, after exchanging
information with APG, Equifax reported to plaintiff a corrected (but still allegedly
inaccurate) amount of $28,249. Id. [ff 24-25.

The alleged reporting of inconsistent information in this fashion is sufficient for a 15
U.S.C. § 1681s-2(b) claim to survive a Rule 12(b)(6) motion. See, e.g., Magruder v.

In Count IV, plaintiff lodges a claim of defamation against APG. ECF 1, If] 89-94. In
particular, the Complaint alleges that APG falsely reported to Equifax, Experian, and
TransUnion that plaintiff owed money and was delinquent, and that APG acted with
malice because it knew that the statement was false, or recklessly disregarded its falsity.
ld. APG attacks this claim solely on the ground that plaintiff has not adequately alleged
the malice or willful intent to injure required by the FCRA to bring a state law defamation
claim. ECF 20-1 at 11.

Of relevance here, the FCRA, 15 U.S.C. § 1681h(e), preempts state law defamation
suits "with respect to the reporting of information against . . . any person who furnishes
information to a consumer reporting agency," such as APG, "based in whole or in part on
[a consumer] report except as to false information furnished with malice or willful intent

to injure such consumer." (Emphasis added.)!48]

"To establish malice, Plaintiff must allege that a defendant published material while
entertaining serious doubts as to the truth of the publication or with a high degree of
awareness of probable falsity,” or with actual knowledge that the information was false.
Foretich v. Capital Cities/ABC, Inc., 37 F.3d 1541, 1551 n.8 (4th Cir.1994)). "Pursuant to
Rule 9(b), ‘malice, intent, knowledge, and other condition of mind of a person may be
averred generally." Magruder_194 F. Supp. 3d at 391 (quoting Fed. R. Civ. P. 9(b))
(discussing Rule 9(b) in the credit reporting defamation context). And, "[a]t the “nascent
stage of litigation’ presented by a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6),
the Federal Rules require only a general pleading of malice." Beuster, 435 F. Supp. 2d at

Applying this standard, Count IV is adequate to survive the motion to dismiss. The
Complaint alleges that APG "acted with malice because it knew that the statement [that
plaintiff owed money and was delinquent] was false or recklessly disregarded the falsity
of the statement." ECF 1, J 93. Again, much of this count is founded on the argument
that plaintiff did not actually owe any outstanding amount on the Loan, an issue that will
have to wait for factual development. Furthermore, APG allegedly reported inconsistent
information to Experian and Equifax in roughly the same time period (see id. at 5-6, J]
12, 14, 21-25), which supports the assertion that APG had a "high degree of awareness
of probable falsity" of the information it was reporting. Beuster, 435 F. Supp. at 480.

3.

Count V of the Complaint is titled "Invasion of Privacy — Intrusion Upon Seclusion." ECF
1 at 16. APG contends that plaintiff has failed adequately to allege facts sufficient to 158
support the tort of intrusion upon seclusion. ECF 20-1 at 11-13.
upon seclusion occurs where there is an “intentional intrusion upon the solitude or
seclusion of another or her private affairs or concerns that would be highly offensive to a

Conduct that a particular plaintiff finds offensive, but that would not offend a reasonable
person, cannot establish intrusion upon seclusion. Whye v. Concentra Health Servs.,
Inc., ELH-12-3432, 2013 WL 5375167, at *14 (D. Md. Sept. 24, 2013), affd, 583 Fed.
App'x 159 (4th Cir. 2014). Rather, intrusion upon seclusion requires a "substantial™
intrusion, judged by an objective reasonableness standard; it is irrelevant whether a
particular plaintiff subjectively found conduct to be highly offensive. /d. at *14 (quoting
Restatement of Torts § 652B, cmt. d). Moreover, "[a]n intrusion upon seclusion claim
requires that the matter into which there was an intrusion is entitled to be private and is

877 (8th Cir, 2000) ("A legitimate expectation of privacy is the touchstone of the tort of
intrusion upon seclusion.").

In Dorris v. Accounts Receivable Management, Inc., GLR-11-3453, 2013 WL 1209629, at
*9 (D. Md. Mar. 22, 2013), the court explained: "[T]he Maryland Court [of Appeals]
established two factors to be considered in determining whether the evidence is
sufficient to establish a jury question for invasion of privacy: (1) whether the frequency of
the communication indicates a pattern of harassment; or, if the communication is ‘not of
such frequency as to constitute harassment,’ (2) whether the communication possesses

878, 884 (1969).

Case law has further developed the tort of intrusion upon seclusion in the context of debt
collection. "Courts have found creditors' actions reasonable when they constitute non-
invasive attempts to collect a debt. . .. Only when such conduct becomes more
persistent, deliberate, or vile do courts begin to consider it unreasonable." Gamble, 846
F. Supp. at 383.

The Restatement of Torts, § 652B, cmt. d, provides:

There is likewise no liability unless the interference with the plaintiffs
seclusion is a substantial one, of a kind that would be highly offensive to the
ordinary reasonable man, as the result of conduct to which the reasonable
man would strongly object. Thus there is no liability for knocking at the
plaintiff's door, or calling him to the telephone on one occasion or even two
or three, to demand payment of a debt. It is only when the telephone calls
are repeated with such persistence and frequency as to amount to a course
of hounding the plaintiff, that becomes a substantial burden to his
existence, that his privacy is invaded.

Court of Appeals rejected the contention that "five or six phone calls to the [plaintiff from
the defendant], and two or three to her parents (who actually signed the note), over a
period of eleven months, constituted a pattern of harassment" justifying an intrusion
claim. /d. at 542, 250 A.2d at 885. The court contrasted these facts with out-of-state
cases upholding a claim where, for example, a creditor's agent made three calls to the
debtor's family members, suggesting an illicit relationship, or where the creditor called

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the debtor six to eight times a day for three weeks, including late at night, and also called

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Corp.,_252 Md. at 540-41, 250 A.2d at 884-85.

In Summit Loans, Inc. v. Pecola, 265 Md. 43, 288 A.2d 114 (1972), the Maryland Court of
Appeals upheld the trial court's decision not to direct a verdict in favor of the defendant in
an intrusion upon seclusion claim. In that case, the creditor's representatives called the
plaintiff at home over 200 times in a six-month period, averaging between 20-30 calls per
week, including late at night, and used threatening and vulgar language towards the

plaintiff and her young daughter. /d. at 46-49, 288 A.2d at 115-17.[8]

seclusion claim related to the defendant sending a process server to plaintiff's home to
serve him with process in a collection action. /d. at 383. The debt in question had been
discharged in bankruptcy, and the plaintiff no longer owed the debt. /d. at 383-84.
Nevertheless, the court granted the defendant's motion to dismiss the claim, noting that
there was no allegation that the defendant knew the debt was no longer owed at the time
process was served, nor was there an assertion that the process server conducted
himself in a highly offensive manner. /d. at 384.

And, in Awah v. Wells Fargo Dealer Servs., Inc., No. 1872, 2019 WL 410412 (Md. Ct.
Sp. App. Jan. 31, 2019), on an intrusion upon seclusion claim, the plaintiff and his wife
testified that the defendant called the plaintiff 15 to 17 times as to the plaintiff's loan,
including sometimes three times a day. /d. at *1. Yet, the Maryland Court of Special
Appeals upheld the circuit court's ruling in favor of the defendant on a motion for
judgment after the close of plaintiffs case. /d. at *2.

Furthermore, "financial harm, such as wrongful garnishment or the filing of a civil action,"
had not "been found to constitute intrusion upon seclusion." Payne v. Ford Motor Credit
Co., LLC, SAG-20-034, 2020 WL 5250287, at *5 (D. Md. Sept. 3, 2020). "It is clear, from
the Maryland cases interpreting or discussing intrusion upon seclusion, that its reach has
been confined to traditional personal privacy interests, and has not been expanded to
finances." /d. at *6. "Unlike defamation, the intrusion on seclusion tort deals with the
manner in which Defendant obtained the information rather than the truth or falsehood of
the information itself." Trundle v. Homeside Lending, _Inc., 162 F. Supp. 2d 396, 401 (D.
Md. 2001) (granting summary judgment for defendant in action by plaintiff alleging that
lender had falsely indicated in credit report that she had been involved in, or had filed
bankruptcy).

The Complaint alleges that APG called plaintiff "several times" to try to collect on his
Loan (ECF 1, ¥ 95), including, "at one point, on a daily basis." /d. | 97. APG also
allegedly emailed plaintiff for the same purpose. /d. J 98. Plaintiff asserts, consistent with
his broader allegations, that APG engaged in such conduct even though he had already
paid off the account. /d. Jf] 96-104. Thus, he alleges that APG "coerced" him into making
payments he did not owe by threatening him with damage to his creditworthiness. /d. J]
31, 34-35, 42, 100. In addition, plaintiff claims that at one point, APG told him that they
would not make an adverse report about him if he made a payment online by March 31,
2021. But, after he did so, APG called him the next day to inform him that the payment
had not yet cleared and that it would report that he had missed a payment. /d. [J 35-36.

By itself, the volume of contacts alleged by plaintiff falls far short of the circumstances
discussed above, in which the Maryland courts left open the possibility of a claim for
intrusion upon seclusion. The allegation of "several calls," at one point daily, is of a
lesser volume even than cases in which the tort was rejected. See Household Fin. Corp...
252 Md. at 540-42, 250 A.2d at 884-85 (five to six calls over eleven-month period);
Awah, 2019 WL 410412, at *1-2 (15-17 calls, including sometimes three per day). Nor is
the conduct alleged to have the "vicious quality” seen in some other cases. Household
Fin. Corp., 252 Md. at 541, 250 A.2d at 884. APG representatives are not alleged to
have been rude, loud, vulgar, or abrasive, or to have called at inappropriate times, or
spoken with anyone besides plaintiff.

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But, the question is whether the allegation that APG was "coercing" plaintiff to make
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engages in otherwise reasonable conduct aimed at collecting debt, the intrusion upon
seclusion tort will not apply even if the plaintiff believes he does not owe the debt, and
even if he turns out to be right. See Gamble, 846 F. Supp. 2d at 383-84. The tort is
aimed at the manner in which defendant acts, not the truth or falsity of the information at
issue. See Trundle, 162 F. Supp. 2d at 461.

The crucial distinction here is that, unlike in Gamble, the Complaint alleges that APG
knew that plaintiff did not owe the asserted amounts. ECF 1, J] 10, 15, 93. At this stage,
| must take these allegations as true; the issue of whether plaintiff did, in fact, owe this
debt is not ripe for resolution at this time. And, a reasonable person could well find it
highly offensive for a lender to continue to contact him, seeking to force him to make
payments it Knows he does not owe, under threat of damage to his creditworthiness.
Although such a communication might lack the viciousness of some of the cases
discussed above, such behavior could be considered to have a "vile" quality. Gamble,
846 F. Supp. at 383.

Intrusion upon seclusion is a difficult tort to pursue successfully, and plaintiff ultimately
may not be able to do so. But, this determination must await further factual development.

IV. Conclusion

For the reasons stated above, | shall construe the Motion as a motion to dismiss and
deny the Motion.

An Order follows, consistent with this Memorandum Opinion.

[1] Both the fifth and sixth counts of the Complaint are captioned "Count V." See ECF 1 at 16-17. And, the
seventh count is captioned "Count VI." See id. at 19. To avoid confusion, | will refer to what should be the sixth
count as "Count VI" and | shall refer to what should be the seventh count as "Count VII."

The Complaint restarts its paragraph numbering after paragraph 13, meaning there are two sets of paragraphs
with the numbers 1-13. See ECF 1 at 3. Therefore, for clarity, when discussing paragraphs 1-13, | specify both
the paragraph and the page number.

[2] As discussed, infra, at this juncture | must assume the truth of the facts alleged in the suit. See Fusaro v.
Cogan, 930 F.3d 241, 248 (4th Cir. 2019).

Throughout the Memorandum Opinion, the Court cites to the electronic pagination. But, the electronic pagination
does not always correspond to the page number imprinted on the particular submission.

[3] Curiously, the Complaint fails to recount any facts pertinent to the origination of the "second mortgage."
However, as discussed, infra, | may consider exhibits that clarify the source of the Loan.

[4] | sometimes refer to this litigation as the "circuit court case" or the "State litigation."

[5] The Motion makes this explicit, asserting that the Stipulation was for a "lesser/compromised amount,” and that
as of March 5, 2018, the unpaid balance on the Loan was "$57,279.28 (principal only)." ECF 20-1 at 2. But, this
sum is not supported by any materials that the Court can consider at the Rule 12(b)(6) stage.

[6] The Motion describes the amount sought by the 2018 Motion as the amount in the Stipulation (ECF 20-1 at
3), and the Opposition refers to the 2018 Motion as the one provided for by the Stipulation. ECF 22 at 3.
However, the principal amount requested in the 2018 Motion is not identical to the amount specified in the
Stipulation. Compare ECF 20-5 at 1 ($35,557.67) with ECF 22-2 at 1 ($34,367.99).

Notably, the principal requested in the 2018 Motion is less than the principal in the Stipulation. Furthermore, the
2018 Motion does not request the $5,336 in attorney's fees contemplated in the Stipulation. APG acknowledges
that the 2018 Motion does not request attorney's fees (see ECF 27 at 2 n.2), but otherwise neither plaintiff nor
APG explains the discrepancies. The discrepancies are not material to the issues, however.

[7] The Notice of Recorded Judgment matches the consent judgment sought by APG, except that the amount of
the judgment in the Notice of Recorded Judgment, before interest, is $34,515.89, rather than $34,367.99.
Compare ECF 20-6 at 1 with id. at 2. The higher sum is presumably the result of adding $147.90, representing
the accrued interest through June 18, 2018, to $34,367.99. However, the Notice of Recorded Judgment mentions
separately the amount of the accrued interest. The parties have not clarified the discrepancy.

[8] "HELOC" is not defined in the Complaint, but presumably refers to "home equity line of credit," i.e., plaintiffs
second mortgage.

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[9] "NSF" is not defined in the suit, but presumably refers to "not sufficient funds." APG does not advance any
explanation as to NSF checks in its briefing, and it is not clear how this explanation interacts with APG's litigation
position that plaintiff owed additional sums after the satisfaction of the 2018 Order because he still owed the

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[10] Aside from this Line of Satisfaction, there are no other docket entries in the State litigation following the 2018
Order and the Notice of Recorded Judgment. See ECF 20-4 at 4.

[11] The Complaint uses the term "Credit Reporting Agencies" or "CRAs" to refer to Experian, Equifax, and
TransUnion. However, TransUnion is not a defendant in this litigation.

[12] Although this language arguably implies that APG made the allegedly false reports to Equifax, Experian, and
TransUnion in January 2021, plaintiff does not explicitly make such an allegation.

[13] In contrast, a court may not convert a motion to dismiss to one for summary judgment sua sponte, unless it
gives notice to the parties that it will do so. See Laughlin, 149 F.3d at 261 (stating that a district court "clearly has
an obligation to notify parties regarding any court-instituted changes" in the posture of a motion, including
conversion under Rule 12(d)); Finley Lines Joint Protective Bd. Unit 200 v. Norfolk So. Corp., 109 F.3d 993, 997
(4th Cir. 1997) ("[A] Rule 12(b)(6) motion to dismiss supported by extraneous materials cannot be regarded as
one for summary judgment until the district court acts to convert the motion by indicating that it will not exclude
from its consideration of the motion the supporting extraneous materials.").

[14] The 2018 Order, consistent with the request in the 2018 Motion, awarded an amount that was somewhat
less than the amount specified in the Stipulation. See supra note 7. But, this would not alter the analysis that
APG sought a consent judgment as contemplated by the Stipulation, which would then merge with the underlying
claim. See, e.g., Accubid Excavation, inc., 188 Md. App. at 229-39, 981 A.2d at 736-41 (subsequent claims for
contract-based attorney's fees barred once contract merged into judgment).

[15] Another provision of the FCRA, 15 U.S.C. § 1681t(b)(1)(F), could be read to preempt ai state law claims.
District courts, including in the District of Maryland, have adopted the "statutory approach,” under which state
statutory claims are preempted by § 1681t(b)(1)(F), but state common law claims (such as defamation) are

governed by § 1681h(e). See, e.g., Meaney v. Nationstar Morig., TDC-16-2959, 2018 WL 1014927, at *13 (D.

this issue.

[16] The defendant in Summit Loans contested this version of events, but at the procedural posture in question,
the court assumed the truth of the testimony of the non-moving party. 265 Md. at 46, 288 A.2d at 115.

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